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                           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

         THE STATE OF OREGON, THE STATE OF                   Case No. 1:25-cv-00077-GSK-TMR-JAR
         ARIZONA, THE STATE OF COLORADO,
         THE STATE OF CONNECTICUT, THE                       PLAINTIFFS' STATEMENT OF
         STATE OF DELAWARE, THE STATE OF                     UNDISPUTED MATERIAL FACTS
         ILLINOIS, THE STATE OF MAINE, THE
         STATE OF MINNESOTA, THE STATE OF
         NEVADA, THE STATE OF NEW MEXICO,
         THE STATE OF NEW YORK, and THE
         STATE OF VERMONT,

                             Plaintiffs,

                   v.

         DONALD J. TRUMP, in his capacity as
         President of the United States;
         DEPARTMENT OF HOMELAND
         SECURITY; KRISTI NOEM, in her official
         capacity as Secretary of the Department of
         Homeland Security; UNITED STATES
         CUSTOMS AND BORDER PROTECTION;
         PETER R. FLORES, in his official capacity as
         Acting Commissioner for U.S. Customs and
         Border Protection; and THE UNITED
         STATES,

                             Defendants.




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           Trump, et al.

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                                                        IEEPA TARIFFS

                   1.        From February 1 to April 29, 2025, President Trump issued a series of executive

         orders (collectively, “IEEPA Tariff Orders”),1 imposing, increasing, suspending, and modifying

         tariffs (collectively, “IEEPA Tariffs”) on most imports worldwide, invoking the President’s

         emergency powers under the International Emergency Economic Powers Act (IEEPA). These

         executive orders were further amended by Executive Order 14289 (“Addressing Certain Tariffs

         on Imported Articles”), 90 Fed. Reg. 18907 (April 29, 2025), which clarified that in general the

         tariffs are not “stacked,” except that imports from China are subject to tariffs under both the

         China Tariff Order (based on a declared fentanyl emergency) and the Worldwide Tariff Order

         (based on a declared trade-deficit emergency).

                   2.        Annual U.S. goods trade deficits have existed for several decades.

                             a. In the Worldwide Tariff Order, President Trump found that “annual U.S.

                                    goods trade deficits” are “persistent.” Executive Order 14257, 90 Fed. Reg.

                                    15041, 15041 (April 2, 2025).

                             b. The United States has run persistent current account deficits since the mid-

                                    1970s, meaning that imports of goods and services have consistently exceeded

                                    exports. (Hines Decl. ¶ 15.)

                   1
                        Executive Order 14193 (“Imposing Duties To Address the Flow of Illicit Drugs
         Across Our Northern Border”), 90 Fed. Reg. 9113 (February 1, 2025) (“Canada Tariff Order”),
         as amended by Executive Order 14197, 90 Fed. Reg. 9183 (February 3, 2025) and Executive
         Order 14231, 90 Fed. Reg. 11785 (March 6, 2025); Executive Order 14194 (“Imposing Duties
         To Address the Situation at Our Southern Border”), 90 Fed. Reg. 9117 (February 1, 2025)
         (“Mexico Tariff Order”), as amended by Executive Order 14198, 90 Fed. Reg. 9185 (February 3,
         2025) and Executive Order 14232, 90 Fed. Reg. 11788 (March 6, 2025); Executive Order 14195
         (“Imposing Duties To Address the Synthetic Opioid Supply Chain in the People’s Republic of
         China”), 90 Fed. Reg. 9121 (February 1, 2025) (“China Tariff Order”), as amended by Executive
         Order 14228, 90 Fed. Reg. 11463 (March 3, 2025) and Executive Order 14256, 90 Fed. Reg.
         14899 (April 2, 2025); Executive Order 14257 (“Regulating Imports With a Reciprocal Tariff To
         Rectify Trade Practices That Contribute to Large and Persistent Annual United States Goods
         Trade Deficits”), 90 Fed. Reg. 15041 (April 2, 2025) (“Worldwide Tariff Order”), as amended
         by Executive Order 14259, 90 Fed. Reg. 15509 (April 8, 2025) and Executive Order 14266, 90
         Fed. Reg. 15625 (April 9, 2025).

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                             c. In 2024, the United States ran a current account deficit of 3.1 percent of gross

                                    domestic product (GDP), which is typical of recent years. (Hines Decl. ¶ 15.)

                             d. Wages and personal consumption have generally increased over the last

                                    decade. (Hines Decl. ¶¶ 10–13 & Figs. 3–7.)

                             e. U.S. manufacturing has declined as a fraction of the U.S. economy over time,

                                    but this is a pattern that is typical of wealthy countries, and a reflection of

                                    structural transformations associated with technology changes and rising

                                    economic affluence. (Hines Decl. ¶ 18.) Total U.S. manufacturing

                                    employment has generally increased over the last 15 years. (Hines Decl. ¶ 20

                                    & Fig. 10.)

                   3.        The Worldwide Tariffs are unlikely to increase domestic wages and consumption.

         (Hines Decl. ¶¶ 39–40, 54–55; Marshall Decl., Ex. A (Federal Reserve, Beige Book (Apr. 2025).)

                             a. Higher tariff levels have historically been associated with higher

                                    unemployment and declines in domestic output and productivity. (Hines Decl.

                                    ¶ 39.)

                             b. The lost economic value caused by the much smaller 2018 tariffs were about

                                    half of the revenue collected. (Hines Decl. ¶ 40.) Deadweight loss rises with

                                    the square of the tariff rate. (Id.)

                   4.        The tariff rates under the Worldwide Tariff Order are arbitrary.

                             a. The baseline 10 percent tariff rate under the Worldwide Tariff Order applies

                                    without regard to how any particular country’s trade practices threaten

                                    domestic U.S. industries. (Hines Decl. ¶ 24; Marshall Decl., Ex. C.)

                             b. The “reciprocal” tariff rates imposed by the Worldwide Tariff Order are not

                                    responsive to any country’s tariff rates. (Hines Decl. ¶¶ 28–31; Marshall

                                    Decl., Exs. B–D.)


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                             c. The “reciprocal” tariff rates are calculated based on the ratio of net U.S.

                                    imports of goods from a country to gross U.S. imports from the same country.

                                    (Marshall Decl., Exs. B, D; Hines Decl. ¶ 28.) No accepted economic or trade

                                    theory supports that approach. (Hines Decl. ¶¶ 27–31; Marshall Decl., Exs. B–

                                    D.)

                             d. The calculation also assumes without explanation that “offsetting exchange

                                    rates and general equilibrium effects are small enough to be ignored.” (Hines

                                    Decl. ¶¶ 28–31.)

                             e. President Trump has opined that “80 percent Tariff on China seems right!”

                                    (Second Declaration of Brian Simmonds Marshall, Ex. K.)

                   5.        The tariffs imposed by the Worldwide Tariff Order are designed to achieve ends

         unrelated to a national emergency arising from suppressed domestic wages or consumption.

                             a. President Trump has indicated that he has used and intends to use the

                                    Worldwide Tariff Order to induce other countries to negotiate with the United

                                    States on matters unrelated to trade or domestic industry. (See Second
                                    Marshall Decl., Exs. L–M).

                             b. President Trump has repeatedly suggested that tariffs are effective because

                                    they bring in revenue, not because they increase domestic wages,

                                    consumption, or manufacturing. (See Marshall Decl., Exs. E–G.)

                   6.        The Canada and Mexico Tariffs apply to almost all goods, regardless of their

         relationship to illicit drugs or drug-trafficking organizations. (See Executive Order 14193

         (“Imposing Duties To Address the Flow of Illicit Drugs Across Our Northern Border”), 90 Fed.

         Reg. 9113 (February 1, 2025), as amended by Executive Order 14197, 90 Fed. Reg. 9183

         (February 3, 2025) and Executive Order 14231, 90 Fed. Reg. 11785 (March 6, 2025); Executive

         Order 14194 (“Imposing Duties To Address the Situation at Our Southern Border”), 90 Fed.


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         Reg. 9117 (February 1, 2025), as amended by Executive Order 14198, 90 Fed. Reg. 9185

         (February 3, 2025) and Executive Order 14232, 90 Fed. Reg. 11788 (March 6, 2025).)

                   7.        President Trump reduced the Canada Tariff rates on potash from 25 percent to 10

         percent without suggesting that the tariff or the adjustment to it might aid in preventing or

         reducing drug trafficking. (See Executive Order 14231, 90 Fed. Reg. 11785 (March 6, 2025).)

                   8.        The China Tariff Order applies to almost all goods imported from China,

         regardless of their relationship to drug trafficking or other border security threats. (See Executive

         Order 14195 (“Imposing Duties To Address the Synthetic Opioid Supply Chain in the People’s

         Republic of China”), 90 Fed. Reg. 9121 (February 1, 2025), as amended by Executive Order

         14228, 90 Fed. Reg. 11463 (March 3, 2025) and Executive Order 14256, 90 Fed. Reg. 14899

         (April 2, 2025).)

                   9.        In 2024, the United States imported goods and services worth more than $4

         trillion, representing 14 percent of the nation’s GDP. (Hines Decl. ¶ 15.)

                                               INJURIES TO THE STATES
                   10.       The imposition of the on-again, off-again IEEPA Tariffs has created economic

         uncertainty, hindering business investment and overall economic activity. (Hines Decl. ¶¶ 38–

         39.)

                   11.       Tariffs directly affect the prices paid by state governments for imported goods and

         for goods that are produced domestically but rely on imported components. (Hines Decl. ¶ 48.)

                   12.       Each year, the plaintiffs in this action (“the States”) purchase a large number of

         items that are either imported from outside the United States and are subject to the IEEPA Tariffs

         or include imported component parts that are subject to the IEEPA Tariffs. (Hines Decl. ¶¶ 44–

         52, Tbls. 1, 2; see, e.g., Emerson Decl. (Or.) ¶ 5; Strole Decl. (Ill.) ¶¶ 3–5; Hayes Decl. (Minn.)

         ¶¶ 3–7; Root Decl. (Minn.) ¶¶ 7–8, 12–13, 18–19; Jaros Decl. (Colo.) ¶¶ 7, 15, 24.)




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                   13.       The IEEPA Tariffs are causing increases in prices of goods and materials on

         which the States rely.

                             a. A department of the University of Oregon is purchasing a transmission

                                    electron microscope from a German manufacturer, which will be subject to an

                                    import duty of about $100,000 under the current 10 percent tariff levied

                                    against goods from Germany. (Shabram Decl. (Or.) ¶ 13.) That department is

                                    still attempting to identify funding to cover the additional tariff costs. (Id.)

                             b. The University of Oregon is in the process of identifying high-value purchases

                                    that will be affected by tariffs, with the estimated impact at current tariff rates

                                    already at more than $769,500. (Shabram Decl. (Or.) ¶¶ 9, 11, Ex. B.)

                             c. Vendors and suppliers who rely on imported components in making their own

                                    goods, are passing through the cost of the IEEPA Tariffs to the States. (See,

                                    e.g., Ramsdell Decl. (Or.) ¶ 8 (Canadian snow blowers); Emerson Decl. (Or.)
                                    ¶ 5, 7 (Chinese scientific supplies and Swiss robotics systems); Ward Decl.

                                    (Ariz.) ¶ 7 (Israeli irrigation system supplies); Jaros Decl. (Colo.) ¶¶ 8 – 13,

                                    18–22, Exs. 1–4 (German, Chinese, and Canadian scientific equipment and

                                    Chinese office supplies); Johnson Decl. (Ill.) ¶ 7 (Chinese and Mexican

                                    computer products); Moy Decl. (N.Y.) ¶ 10 (Canadian energy); Hayes Decl.

                                    (Minn.) ¶ 10, Ex. B (school buses with Chinese components); Root Decl.

                                    (Minn.) ¶¶ 8–9 (Canadian dynamic road signs).)

                             d. Various state entities are or will be purchasing essential equipment for their

                                    services, for which passed-through tariff costs will result in the entity either

                                    purchasing fewer units or reducing other services. (Ramsdell Decl. (Or.)

                                    ¶¶ 12–13 (fewer purchases of tariffed goods such as snow blowers); Johnson

                                    Decl. (Ill.) ¶¶ 8–11 (delayed replacement of outdated computer equipment).)


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                             e. In aggregate, the 12 plaintiff States will pay an estimated $1.6 billion in

                                    increased costs per year due to the IEEPA Tariffs. (Hines Decl. ¶ 52.)

                   14.       Tariff costs that are passed through to the States by vendors and importers of

         record are administratively infeasible to recover.

                             a. The Federal Reserve reports that businesses intend to raise prices in response

                                    to the IEEPA Tariffs. (Marshall Decl., Ex. A (Federal Reserve, Beige Book

                                    (Apr. 2025)); Hines Decl. ¶ 43.)

                             b. The States make a large number of purchases each year and engage various

                                    service contractors for an array of purposes. (Emerson Decl. (Or.) ¶ 5; Strole

                                    Decl. (Ill.) ¶¶ 3–5; Hayes Decl. (Minn.) ¶¶ 3–7; Root Decl. (Minn.) ¶¶ 7–8,

                                    12–13, 18–19, Ex. C.)

                             c. Reviewing each purchase that is affected by the IEEPA Tariffs and

                                    negotiating with vendors and suppliers to attempt to recover passed-through

                                    tariff costs would be administratively infeasible and impose additional and

                                    irrecoverable costs to the States. (Zelenka Decl. (Or.) ¶ 9; Jaros Decl. (Colo.)

                                    ¶ 42; Hayes Decl. (Minn.) ¶ 18.)

                             d. At least one supplier has asked its subsuppliers to keep calculations regarding

                                    tariff surcharges a trade secret. (Hayes Decl. (Minn.) ¶ 18.) Others have been

                                    “less forthcoming” with details regarding country-of-origin information for

                                    goods and materials. (Jaros Decl. (Colo.) ¶ 32.)

                   15.       President Trump’s invocation of IEEPA to repeatedly change national tariff

         policy creates ongoing uncertainty that hinders the States’ ability to budget and to negotiate

         contracts. (Emerson Decl. (Or.) ¶ 7; Jaros Decl. (Colo.) ¶ 39; Johnson Decl. (Ill.) ¶¶ 15, 20–21.)




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                             a. Through the IEEPA Tariff Orders, President Trump has repeatedly imposed,

                                    increased, suspended, and modified the IEEPA Tariffs. See IEEPA Tariff

                                    Orders.

                             b. By threatening to affect nearly all imports, the IEEPA Tariff Orders have

                                    created uncertainty across almost every aspect of the world economy. (Hines

                                    Decl. ¶¶ 38–43.)

                             c. The States’ agencies and higher-education institutions set budgets to ensure

                                    responsible financial planning and spending. (Shabram Decl. (Or.) ¶ 14;

                                    Ramsdell Decl. (Or.) ¶ 6; Ward Decl. (Ariz.) ¶¶ 9–10; Jaros Decl. (Colo.)

                                    ¶¶ 35–36.)

                             d. The substantial uncertainty caused by the constantly changing IEEPA Tariffs

                                    impairs the States’ ability to budget accurately, making the resulting budgets a

                                    less reliable fiscal control. (Shabram Decl. (Or.) ¶ 16; Emerson Decl. (Or.)

                                    ¶ 7; Jaros Decl. (Colo.) ¶ 38; Johnson Decl. (Ill.) ¶¶ 20–21.)

                             e. The uncertainty regarding what tariffs will apply at the time of import makes

                                    it difficult for the States’ agencies and universities to obtain bids from vendors

                                    and contractors and to identify the true lowest bid. (See, e.g., Emerson Decl.
                                    (Or.) ¶ 7; Johnson Decl. (Ill.) ¶¶ 12–13, 15–16, 20.)

                             f. The uncertainty regarding what tariffs will apply at the time of import

                                    undermines the States’ ability to allocate resources, make investments, and

                                    apply for grants. (See, e.g., Ramsdell Decl. (Or.) ¶ 11; Shabram Decl. (Or.)

                                    ¶¶ 16–18; Jaros Decl. (Colo.) ¶¶ 38–39; Ward Decl. (Ariz.) ¶¶ 9–10.)




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                   16.       The IEEPA Tariffs require the States to incur additional and irrecoverable

         administrative costs.

                             a. The States are engaging in additional negotiation required to address the

                                    unexpected costs of the IEEPA Tariffs, thus incurring additional and

                                    irrecoverable administrative costs. (Jaros Decl. (Colo.) ¶¶ 6, 12–13, 39–40,

                                    Ex. 3; Johnson Decl. (Ill.) ¶¶ 15 – 17.)

                             b. The Illinois Department of Innovation and Technology has expended

                                    numerous work hours during the past months in assessing, reacting, and

                                    responding to unavailability and increased costs of needed products, and in

                                    attempting to find new ways to nonetheless obtain those products to continue

                                    to provide services to Illinois state agencies. (Johnson Decl. (Ill.) ¶ 17.)

                   17.       Each of the IEEPA Tariff Orders affects the States.

                             a. The Canada Tariff Order affects the States. (E.g., Ramsdell Decl. (Or.) ¶ 8–10

                                    (Canadian snow blowers); Jaros Decl. (Colo.) ¶¶ 12–13, Ex. 3 (Canadian

                                    electric switchgear equipment); Root Decl. (Minn.) ¶¶ 8–11, 19 (Canadian

                                    dynamic road signs and salt).)

                             b. The Mexico Tariff Order affects the States. (E.g., Johnson Decl. (Ill.) ¶ 7

                                    (Mexican computer products).)

                             c. The China Tariff Order and the later Worldwide Tariff Orders as it applies to

                                    China affect the States. (E.g., Emerson Decl. (Or.) ¶ 5 (Chinese scientific

                                    supplies); Jaros Decl. (Colo.) ¶¶ 10–11, 18–22, Atts. 2, 4 (Chinese scientific

                                    equipment and office supplies); Johnson Decl. (Ill.) ¶ 7 (Chinese computer




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                                    products); Hayes Decl. (Minn.) ¶ 10, Ex. B (school buses with Chinese

                                    components).)

                             d. The Worldwide Tariff Order affects the States. (E.g., Emerson Decl. (Or.) 7

                                    (Swiss robotics system); Ward Decl. (Ariz.) ¶ 7 (Israeli irrigation system

                                    supplies); Jaros Decl. (Colo.) ¶¶ 8–9, Att. 1 (German scientific equipment);

                                    Shabram Decl. (Or.) ¶ 13 (German transmission electron microscope).)




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